            Case 1:21-cr-00026-CRC Document 56 Filed 06/15/22 Page 1 of 3



                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                          :
                                                  :
                                                  :
        v.                                        :   Case No. 21-cr-26 (CRC)
                                                  :
CHRISTOPHER MICHAEL ALBERTS,                      :
                                                  :
        Defendant.                                :

                     UNOPPOSED MOTION FOR STATUS HEARING

       In light of defense counsel’s recent statement to counsel for the United States that he seeks

continuance of the July 25, 2022 trial date in this matter, the United States of America requests

that the Court schedule a videoconference status hearing at which the defendant, his counsel, and

the United States may address a number of issues. The parties propose that the status hearing be

conducted on June 23, 2022 (except for between 9:30 a.m. - 10:30 a.m. and 1:30 p.m. - 2:30 p.m.);

June 24, 2022 (except for between 9:00 a.m. - 11:00 a.m. and 2:00 p.m. - 3:00 p.m.); or June 27,

2022 (except for between 2:30 p.m. - 4:30 p.m.)

       The United States submits that the Court may wish to discuss with the parties: (1) the

defendant’s forthcoming motion to continue the July 25, 2022 trial and associated deadlines; (2)

the status of legal representation for Mr. Alberts; (3) the status of the Government’s plea offer to

Mr. Alberts; (4) if such offer has been rejected, a Lafler no-plea colloquy; and (5) arraignment of

the defendant on the Second Superseding Indictment.

       1.       The Second Superseding Indictment charges the defendant, Christopher Michael

Alberts, with ten crimes related to his dangerous and violent behavior on the grounds of the U.S.

Capitol Building on January 6, 2021. See ECF No. 34.

       2.       The defendant’s motion to dismiss the indictment is pending before the Court. See

ECF Nos. 40 & 52.
            Case 1:21-cr-00026-CRC Document 56 Filed 06/15/22 Page 2 of 3



       3.         Trial is scheduled for July 25, 2022. See ECF No. 37.

       4.         On May 5, 2022, the Court held a status conference and reset certain pretrial

deadlines at the request of the parties. See Minute Order, dated 5/5/2022.

       5.         The next status conference is scheduled for July 18, 2022, one week prior to the

July 25, 2022 trial. See ECF No. 37.

       6.         Good cause exists to hold an interim status conference via video teleconference in

order to address a number of issues that could affect the July 25, 2022 trial date. In particular, lead

defense counsel reached out to government counsel during the afternoon of June 14, 2022

requesting concurrence in continuance of the trial date for reasons more suitably voiced by defense

counsel or discussed at a status hearing.

       7.         Based on defense counsel’s representations, the government does not oppose a

continuance of the trial date. It is the government’s understanding that defense counsel will file an

unopposed continuance motion when feasible, which likely will be early next week, or orally move

for a continuance at a status hearing.

       8.         Because lead defense counsel’s availability to prepare for and proceed with a trial

of this matter currently is unknown, the Court also may wish to address the status of Mr. Alberts’s

representation.

       9.         The United States further submits that it would be appropriate to inquire of Mr.

Alberts whether he has had the opportunity to review and consider the United States’ plea offer,

which expired on June 10, 2022. If Mr. Alberts has rejected that offer, the United States requests

that the Court conduct an on-the-record Lafler colloquy.

       10.        Moreover, the United States requests the Court to conduct an arraignment of Mr.

Alberts as to the operative pleading in this matter, the Second Superseding Indictment, ECF No.

34.


                                                   2
           Case 1:21-cr-00026-CRC Document 56 Filed 06/15/22 Page 3 of 3



         11.   On June 14, 2022, counsel for the government emailed with defense counsel Ken

Ferguson about these issues and spoke and emailed with defense counsel Allen Orenberg. Neither

defense counsel opposed the relief sought herein, and all counsel appear to be available on June

23, 2022 (except for between 9:30 a.m. - 10:30 a.m. and 1:30 p.m. - 2:30 p.m.), June 24, 2022

(except for between 9:00 a.m. - 11:00 a.m. and 2:00 p.m. - 3:00 p.m.), or June 27, 2022 (except

for between 2:30 p.m. - 4:30 p.m.)

Dated:    June 15, 2022                     Respectfully submitted,


                                            MATTHEW M. GRAVES
                                            United States Attorney
                                            DC Bar No. 481052

                                            /s/ Jordan A. Konig
                                            JORDAN A. KONIG
                                            Trial Attorney, Tax Division,
                                            U.S. Department of Justice
                                            Detailed to the U.S. Attorney’s Office
                                            For the District of Columbia
                                            P.O. Box 55, Washington, D.C. 20044
                                            202-305-7917 (v) / 202-514-5238 (f)
                                            Jordan.A.Konig@usdoj.gov

                                            /s/ Samuel S. Dalke
                                            SAMUEL S. DALKE
                                            Assistant U.S. Attorney
                                            Middle District of Pennsylvania
                                            Detailed to the U.S. Attorney’s Office
                                            For the District of Columbia
                                            P.O. Box 55, Washington, D.C. 20044
                                            717-515-4095
                                            Samuel.S.Dalke@usdoj.gov




                                               3
